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&nbsp;

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In The

Court of
Appeals

For The

First District
of Texas

————————————

NO. 01-10-00331-CV

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JEFFREY
JON JACKSON, Appellant

V.

SHAE ALLISON HARWELL, Appellee



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&nbsp;

On Appeal from the 245th District Court 

Harris County, Texas



Trial Court Case No. 2009-58633 

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MEMORANDUM OPINION

Appellant has filed an unopposed motion to dismiss
the appeal.&nbsp; &nbsp;&nbsp;No opinion has issued.&nbsp; Accordingly, we grant the motion and we dismiss the appeal.&nbsp; Tex. R. App. P. 42.1(a)(1).

We overrule all other pending motions as moot.&nbsp; We direct the Clerk to issue mandate within
10 days of the date of this opinion.&nbsp; Tex. R. App. P. 18.1.

PER CURIAM

Panel
consists of Chief Justice Radack and Justices Bland and Sharp.





